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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                            Chapter 11

         BORDEN DAIRY COMPANY, et al.,                                     Case No. 20-10010 (CSS)

                                            Debtors.1                      (Joint Administration Requested)


             DEBTORS’ MOTION FOR INTERIM AND FINAL ORDERS (A) AUTHORIZING
              USE OF CASH COLLATERAL AND GRANTING ADEQUATE PROTECTION,
             (B) AUTHORIZING USE OF RESERVE ACCOUNT CASH, (C) SCHEDULING A
                     FINAL HEARING, AND (D) GRANTING RELATED RELIEF

                  Borden Dairy Company (“Borden”) and its affiliated debtors and debtors in possession

         (collectively, the “Debtors” or the “Company”) hereby file this motion (this “Motion”) for entry

         of an interim order (the “Interim Order”), substantially in the form attached hereto as Exhibit A,

         pursuant to sections 105, 361, 362, 363, 506(a), 507(b), 552 and 553 of chapter 11 of title 11 of

         the United States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004, 7062 and 9014

         of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2002-1(b),

         4001-2 and 9013-1(m) of the Local Rules of Bankruptcy Practice and Procedure of the United

         States Bankruptcy Court for the District of Delaware (the “Local Rules”): (a) authorizing the

         Debtors’ use of Cash Collateral (as defined herein) on the terms and conditions set forth in the

         Interim Order and providing adequate protection to the Prepetition Secured Parties (as defined


         1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Borden Dairy Company (1509); Borden Dairy Holdings, LLC (8504); National Dairy, LLC (9109);
             Borden Dairy Company of Alabama, LLC (5598); Borden Dairy Company of Cincinnati, LLC (1334); Borden
             Transport Company of Cincinnati, LLC (3462); Borden Dairy Company of Florida, LLC (5168); Borden Dairy
             Company of Kentucky, LLC (7392); Borden Dairy Company of Louisiana, LLC (4109); Borden Dairy Company
             of Madisonville, LLC (7310); Borden Dairy Company of Ohio, LLC (2720); Borden Transport Company of Ohio,
             LLC (7837); Borden Dairy Company of South Carolina, LLC (0963); Borden Dairy Company of Texas, LLC
             (5060); Claims Adjusting Services, LLC (9109); Georgia Soft Serve Delights, LLC (9109); NDH Transport, LLC
             (7480); and RGC, LLC (0314). The location of the Debtors’ service address is: 8750 North Central Expressway,
             Suite 400, Dallas, TX 75231.
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         herein) for any diminution in value of their interests in the Prepetition Collateral (as defined herein)

         resulting from such use of Cash Collateral; (b) authorizing the Debtors’ use of the proceeds (the

         “Reserve Account Cash”) of the Reserve Account (as defined herein), which account was

         specifically excluded from the Prepetition Collateral; (c) scheduling a final hearing (the “Final

         Hearing”) to consider entry of an order granting certain of the relief requested herein on a final

         basis (the “Final Order”); and (d) granting related relief. A detailed description of the Debtors

         and their businesses, and the facts and circumstances supporting this Motion and the Debtors’

         Chapter 11 Cases (as defined herein), is set forth in the Declaration of Jason Monaco in Support
                                                                                                                 2
         of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”)                                 filed

         contemporaneously herewith. In further support of this Motion, the Debtors respectfully state as

         follows:

                                                         Jurisdiction

                 1.       The United States Bankruptcy Court for the District of Delaware (this “Court”) has

         jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

         Order of Reference from the United States District Court for the District of Delaware, dated

         February 29, 2012. The Debtors confirm their consent, pursuant to Local Rule 9013-1(f), to the

         entry of a final order by this Court in connection with this Motion to the extent that it is later

         determined that this Court, absent consent of the parties, cannot enter final orders or judgments in

         connection herewith consistent with Article III of the United States Constitution.

                 2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
             First Day Declaration or the Credit Agreement, as applicable.
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                3.      The bases for the relief requested herein are sections 105, 361, 362, 363, 506(a),

         507(b), 552 and 553 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6003, 6004, 7062 and

         9014, and Local Rules 2002-1(b), 4001-2 and 9013-1(m).

                                                   Background

                4.      As of the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

         petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”) with this

         Court. The Debtors continue to operate their businesses and manage their properties as debtors

         and debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         Concurrently with the filing of this Motion, the Debtors have requested procedural consolidation

         and joint administration of these Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b). No party

         has requested the appointment of a trustee or examiner in these Chapter 11 Cases, and no

         committees have been appointed or designated at this time.

                5.      The Debtors produce and/or market dairy products, including flavored and

         specialty milk, buttermilk, dips and sour cream, juices, tea, and flavored drinks. The Debtors are

         headquartered in Dallas, Texas and operate 12 manufacturing facilities and more than 75

         distribution centers in the Midwest, Southern, and Southeastern regions of the United States. The

         Debtors offer more than 35 dairy products that are sold in more than 40,000 locations annually.

                6.      Additional information about the Debtors’ business and the events leading to the

         commencement of the Chapter 11 Cases can be found in the First Day Declaration, which is

         incorporated herein by reference.

                                The Debtors’ Prepetition Secured Indebtedness

         A.     Financing Agreement

                7.      On July 6, 2017, Borden, as borrower, the other Loan Parties (as defined in the

         Credit Agreement (as defined herein)) party thereto (together with Borden, the “Loan Parties”),
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         each of the lenders from time to time party thereto (the “Lenders”), the L/C Issuer (as defined in

         the Credit Agreement), and PNC Bank, National Association (“PNC”), as administrative agent )in

         such capacity, the “Administrative Agent”) and collateral agent (in such capacity, the “Collateral

         Agent,” and in such capacities collectively, the “Agent,” and together with the Lenders, the L/C

         Issuer, and each other Secured Party (as defined in the Credit Agreement), the “Prepetition

         Secured Parties”), entered into that certain Financing Agreement (as amended, modified, restated,

         amended and restated, and/or supplemented from time to time, the “Credit Agreement”), which

         provided the Debtors with a $275 million credit facility (the “Credit Facility”). The Credit

         Facility consisted of: (a) a $30 million term loan A facility (the “Term Loan A Facility,” and such

         loans thereunder, the “Term Loan A Loans”) held by PNC, (b) a $175 million term loan B facility

         (the “Term Loan B Facility”) held by certain affiliates of KKR Credit Advisors (US) LLC and/or

         Franklin Square Holdings, L.P., and (c) a $70 million revolving credit facility (the “RCF Facility,”

         and such loans thereunder, the “Revolving Loans”)3 provided by PNC, which includes a $25

         million subfacility for the issuance of letters of credit (“Letters of Credit”)

                 8.       As of the Petition Date, there is approximately $255.8 million of principal amount

         of loans outstanding under the Credit Facility, comprised of: (a) approximately $56.7 million of

         principal amount of loans outstanding under the RCF Facility, plus approximately $13 million of

         Letters of Credit that have been drawn, (b) approximately $24.1 million of principal amount of

         loans outstanding under the Term Loan A Facility, and (c) approximately $175 million of principal



         3
             Pursuant to the Second Amendment and Waiver to Financing Agreement, dated November 20, 2019 (the “Second
             Amendment to the Credit Agreement”), between Borden and PNC, the RCF Facility was temporarily increased
             from $60 million to $70 million through February 18, 2020. Subject to availability under the borrowing base, the
             total available amount to be drawn down under the RCF Facility, inclusive of letter of credit amounts, is $70
             million. For the avoidance of doubt, the principal amounts under the RCF Facility exclude (i) committed (but
             undrawn) Letters of Credit against the RCF Facility in the amount of $12.6 million and (ii) $500,000 for lease
             liabilities in connection with the Debtors’ corporate office.
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         amount of loans outstanding under the Term Loan B Facility, plus accrued and unpaid interest,

         fees, expenses, and all other obligations payable under the Loan Documents (as defined in the

         Credit Agreement) (collectively, the “Prepetition Loan Obligations”).4

         B.       Prepetition Liens and Collateral

                  9.       The Loan Parties and the Collateral Agent are parties to that certain Pledge and

         Security Agreement, dated as of July 6, 2017 (as amended, modified, restated, amended and

         restated, and/or supplemented from time to time, the “Security Agreement”), and the other

         Security Documents (as defined in the Credit Agreement). As security for their obligations under

         the Loan Documents, the Loan Parties granted to the Collateral Agent, for the benefit of the

         Prepetition Secured Parties, a (a) security interest in and lien on outstanding Equity Interests (as

         defined in the Security Agreement) and indebtedness owned by the Debtors or in which the

         Debtors have an interest, and (b) security interest in substantially all of the Debtors’ other personal

         property and fixtures (subject to customary exclusions) (collectively, the “Prepetition

         Collateral”), including cash collateral (as defined in section 363(a) of the Bankruptcy Code,

         “Cash Collateral,” and the security interests in and liens on the Prepetition Collateral, the

         “Prepetition Liens”).5

                  10.      In connection with the Credit Agreement, certain of the Lenders, the Administrative

         Agent and the Collateral Agent entered into that certain Agreement Among Lenders, dated as of

         July 6, 2017 (as amended, modified, restated, amended and restated, and/or supplemented from


         4
              Certain of the Prepetition Loan Obligations under the RCF Facility and Term Loan A Facility are also evidenced
              by Notes (as defined in the Credit Agreement).


         5
              Certain of the equipment used by the Debtors is owned by PNC Equipment Finance, LLC (the “Lessor”) and is
              leased by the Debtors pursuant to that certain Master Lease Agreement, dated as of August 15, 2019 (as amended,
              restated, supplemented, or otherwise modified from time to time, the “Master Lease Agreement”), by and among
              Lessor and Borden Diary Company of Texas, LLC as lessee. The Debtors have not drawn any amounts in
              connection with the Master Lease Agreement
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         time to time, the “AAL”). The AAL sets forth certain of the Lenders’ respective rights and

         obligations under the Credit Agreement.

                                                Reserve Account

                11.     Prior to the Petition Date, the Company made periodic payments pursuant to

         settlement agreements they entered into with respect to withdrawal liabilities relating to two

         pension plans: (i) Central States, Southeast and Southwest Areas Pension Fund (“Central States”),

         which was terminated in 2014; and (ii) the Retail, Wholesale and Department Store International

         Union (the “RWDSU” and together, the “Pension Plans”), which was terminated in 2016.

                12.     In 2017, the Company and certain of its subsidiaries entered into a Reorganization

         and Subscription Agreement (as amended, modified, restated, amended and restated, and/or

         supplemented from time to time, the “2017 RSA”), pursuant to which the Company reorganized

         under a new holding company and the existing equity holder sold a portion of the equity to a new

         investor. Following consummation of the 2017 RSA (together with the transactions consummated

         in connection therewith, the “Restructuring”), Borden and its sixteen direct and indirect

         subsidiaries are each wholly-owned, directly or indirectly, by Holdings.

                13.     In connection with the transaction, the Company established a special purpose

         account (the “Reserve Account”) funded with a $30 million deposit. The Reserve Account was

         established to enable the Company to continue to fund payments to Central States and RWDSU—

         principally, the monthly installments of $185,225 payable by the Company to Central States and

         quarterly installments of approximately $6,000 payable by the Company to RWDSU pursuant to

         the settlement agreements referred to above. The terms governing establishment of the Reserve

         Account were set forth in the principal agreement memorializing the transaction in the 2017 RSA.

                14.     As of December 31, 2019, the cash, cash equivalents and securities on deposit in

         the Reserve Account (i.e., the Reserve Account Cash), had a value of approximately $26.6 million.
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                 15.      The Reserve Account constitutes property of the Debtors’ estates pursuant to

         section 541(a) of the Bankruptcy Code and is not encumbered by any liens, security interests or

         other encumbrances. To the contrary, the Loan Documents specifically exclude the Reserve

         Account from the Prepetition Collateral.6 Similarly, Central States and RWDSU do not have liens

         on or security interests in the Reserve Account. The account was established in 2017, several years

         after the Company began making payments to Central States and RWDSU, and it was established

         pursuant to the 2017 RSA, an agreement to which Central States and RWDSU are not parties.

                 16.      The cash and securities in that account are available for use by the Debtors during

         these Chapter 11 Cases, and that access is absolutely critical to the Debtors’ reorganization efforts.

               The Debtors’ Immediate Need to Use Cash Collateral and Reserve Account Cash

                 17.      In addition to the Reserve Account Cash, the Debtors further seek authority to use

         Cash Collateral on a non-consensual basis. While access to the Reserve Account is critical, the

         Debtors also need the ability to use postpetition collections to continue to operate their business in

         the ordinary course. At this time, the Debtors do not have an agreement with their Lenders to

         provide debtor-in-possession financing, and the Debtors believe that, given the significant amount

         of secured debt on the Company, no third-party lender will provide such financing on an

         unsecured, junior or pari passu basis. See 11 U.S.C. § 364. Similarly, given the unsustainable

         level of secured debt, it is not realistic to expect that the Lenders would consent to being primed

         by a third-party DIP loan.




         6
             The Credit Agreement’s definition of “Cash Management Accounts” expressly excludes the Reserve Account
             (referred to therein as the “DC Account”). Likewise, the Security Agreement’s definition of “Excluded Property”
             includes “(h) any deposit account excluded from the definition of “Cash Management Accounts” in the [Credit
             Agreement].” In addition, Section 2 of the Security Agreement, “Grant of Security Interest,” states
             “[n]otwithstanding anything herein to the contrary, the term “Collateral” shall not include Excluded Property.”
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                 18.      The Debtors cannot operate without access to cash―both Cash Collateral and the

         Reserve Account Cash―and failure to obtain access now will cause immediate and irreparable

         harm to the Debtors, their customers, suppliers, employees, and other creditors and parties in

         interest.

                 19.      The Debtors propose to use Cash Collateral and the Reserve Account pursuant to

         the Budget attached to the Interim Order as Exhibit 1, subject to certain variances set forth therein.

                 20.      As adequate protection for their proposed use of Cash Collateral as set forth above,

         the Debtors propose to provide the following to the Prepetition Secured Parties:

                          a.       replacement liens and superpriority administrative claims for any
                                   diminution in value of the Prepetition Secured Parties’ Prepetition
                                   Collateral;
                          b.       monthly cash interest payments on the Revolving Loans and Term Loan A
                                   Loans, all held by PNC, at the applicable non-default contract rate; and
                          c.       certain reporting obligations.

                        Bankruptcy Rule 4001 and Local Rule 4001–2 Concise Statement:7

                 21.      Pursuant to Bankruptcy Rules 4001(b)(1) and (d) and Local Rule 4001-2(a)(ii), the

         Debtors submit the following concise statement of the material terms of the Interim Order:




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             Any summary of the terms of the Interim Order contained in this Motion is qualified in its entirety by reference
             to the provisions of the Interim Order. To the extent there is a conflict between the Motion and the Interim Order,
             the Interim Order shall control. The Debtors reserve the right to supplement the statements made herein.
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                                                 Summary of Material Terms                                                ¶
             Entities with an Interest   PNC Bank, National Association, as Administrative Agent, Collateral             ¶G
             in Cash Collateral          Agent and L/C Issuer, and the Lenders pursuant to the Loan Documents.
             Bankruptcy Rule
             4001(b)(1)(B)(i)
             Purposes for Use of         To avoid immediate and irreparable harm to their businesses, the Debtors ¶ I, 2
             Cash Collateral             request access to Cash Collateral on an interim and final basis to fund the
             Bankruptcy Rule             operation of their businesses in the ordinary course postpetition, as well as
             4001(b)(1)(B)(ii)           the administrative costs of these Chapter 11 Cases, as set forth in the
             Budget                      B d t
                                         A 13-week budget (the “Budget”) setting forth the Debtors’ projected cash ¶ 2, 5
             Bankruptcy Rule             receipts and disbursements on a consolidated basis for the period
             4001(b)(1)(B)(ii)           commencing on the Petition Date, which is attached as Exhibit 1 to the
                                         Interim Order.
             Duration of Use of Cash     The Debtors’ right to use Cash Collateral pursuant to the Interim Order shall   ¶8
             Collateral/                 terminate (the date of any such termination, the “Termination Date”) on
             Termination                 the earlier to occur of any of the events set forth below (each such event, a
             Events/                     “Termination Event”), subject in certain instances, to notice requirements:
             Relief from Stay
             Bankruptcy Rule                1.   the failure of the Debtors to abide by the material terms, covenants,
             4001(b)(1)(B)(iii), Local           and conditions of the Interim Order or the Budget (subject to any
             Rule 4001–2(a)(ii)                  permitted variances);
                                            2.   the use of Cash Collateral for any purpose not authorized by the
                                                 Interim Order;
                                            3.   the dismissal of any of these Chapter 11 Cases, the conversion of
                                                 any of these Chapter 11 Cases to a case under chapter 7 of the
                                                 Bankruptcy Code, or the appointment in any of these Chapter 11
                                                 Cases of a trustee or examiner with expanded powers; or
                                            4.   an order of the Court is entered (other than the Final Order)
                                                 reversing, staying, vacating, or otherwise modifying in any material
                                                 respect the terms of the Interim Order.
                                         The automatic stay provisions of section 362 of the Bankruptcy Code are
                                         hereby modified to permit the Debtors to implement and perform the terms
                                         of the Interim Order.




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             Proposed Adequate          As proposed adequate protection for the interests of the Prepetition Secured      ¶4
             Protection                 Parties in the Prepetition Collateral, solely to the extent of, and in an
             Bankruptcy Rule            aggregate amount equal, in each case, to, the Diminution in Value (as
             4001(b)(1)(B)(iv),         defined in Paragraph 4 of the Interim Order) of such interests, the Debtors
             Local Rule 4001–2(a)(ii)   are proposing to offer the following to the Collateral Agent:
                                           1.   Replacement Liens: Replacement liens (the “Adequate Protection
                                                Liens,” and the property securing such liens, the “Replacement
                                                Collateral”) on all of the Debtors’ postpetition property which, but
                                                for the commencement of the Chapter 11 Cases, would constitute
                                                Prepetition Collateral, subject and subordinate only to (i) the Carve-
                                                Out (as defined herein), (ii) any Prepetition Permitted Liens (as
                                                defined in the Interim Order) that exist on and are legal, valid,
                                                binding, enforceable, perfected, and non-avoidable as of the Petition
                                                Date and are permitted to be senior to the Prepetition Liens (as
                                                applicable) pursuant to applicable Loan Documents, and (iii) any
                                                Prepetition Permitted Liens in existence immediately prior to the
                                                Petition Date that are legal, valid, enforceable, binding, and non-
                                                avoidable and are perfected after the Petition Date as permitted by
                                                section 546(b) of the Bankruptcy Code, and which are permitted to
                                                be senior to the Prepetition Liens pursuant to applicable Loan
                                                Documents, in each case not including the Prepetition Liens or the
                                                Adequate Protection Liens (such liens described in clauses (ii) and
                                                (iii), collectively, and not including any Prepetition Liens or
                                                Adequate Protection Liens, the “Senior Third Party Prepetition
                                                Permitted Liens”);
                                           2.   Superpriority Claims: Pursuant to the Final Order and subject only
                                                to the Carve-Out, superpriority claims as provided for in section
                                                507(b) of the Bankruptcy Code (the “Adequate Protection
                                                Superpriority Claims”) payable from and having recourse to all
                                                prepetition and postpetition property of the Debtors and all proceeds
                                                thereof, including proceeds of Avoidance Actions (as defined
                                                herein) or property recovered under such Avoidance Actions
                                                whether by judgment, settlement, or otherwise;
                                           3.   Adequate Protection Payments: Cash payment of all interest, fees,
                                                and other amounts (other than principal) accrued after the Petition
                                                Date) in respect of the Revolving Loans and Term Loan A Loans,
                                                which amounts shall accrue and be payable at the rates and times
                                                provided for in such Loan Documents at the non-default contract
                                                rate.
             Carve-Out                  The Interim Order provides a “Carve-Out” of certain statutory fees and            ¶7
             Bankruptcy Rule            allowed professional fees of the Debtors and any statutory committee of
             4001(b)(1)(B)(iii)         unsecured creditors (a “Committee”) appointed pursuant to section 1103
                                        of the Bankruptcy Code which, upon the occurrence of a Carve-Out Event
                                        (as defined in the Interim Order), is subject to a Post-Carve-Out Notice Cap
                                        (as defined in the Interim Order) of $2,500,000, all as detailed in the Interim
                                        Order. The reasonable fees and expenses incurred by a trustee under section
                                        726(b) of the Bankruptcy Code are capped at $50,000.




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                                            Local Rule 4001-2 Concise Statements                                        Location

             Cross-
             Collateralization         The Interim Order does not provide for cross-collateralization, other than
                                                                                                                            N/A
             Local Rule                replacement liens as adequate protection.
             4001–2(a)(i)(A)
             Stipulations              The Interim Order does not set forth any stipulations.                               N/A
             Local Rule
             4001–2(a)(i)(B)
             Effect of Stipulations    The Interim Order does not set forth any stipulations.                              N/A
             Local Rule
             4001–2(a)(i)(B)
             Section 506(c) Waiver     The Interim Order does not provide for a section 506(c) waiver.                     N/A
             Local Rule
             4001–2(a)(i)(C)
             Liens on Chapter 5        The Interim Order does not provide for liens on the Debtors’ claims and             N/A
             Causes of Action          causes of action arising under sections 502(d), 544, 545, 547, 548, 549, 550,
             Local Rule 4001–          or 553 of the Bankruptcy Code (collectively, the “Avoidance Actions”).
             2(a)(i)(D)

             Provisions Deeming        The Interim Order does not deem prepetition secured debt to be postpetition         N/A
             Prepetition Debt to be    debt or use postpetition loans from a prepetition secured creditor to pay part
             Postpetition Debt         or all of that secured creditor’s prepetition debt.
             Local Rule 4001–
             2(a)(i)(E)

             Disparate Treatment of The Interim Order contains no provision for disparate treatment for                     ¶7
             Professionals Under    Committee professionals, if any, with respect to the Carve-Out.
             Carve-Out
             Local Rule 4001–
             2(a)(i)(F)

             Non-Consensual            The Interim Order does not provide for non-consensual priming of any                N/A
             Priming Liens             existing secured lien.
             Local Rule
             4001–2(a)(i)(G)
             Section 552(b)(1)         The Interim Order does not provide for a section 552(b)(1) waiver.                  N/A
             Waiver
             Local Rule 4001–
             2(a)(i)(H)
             Releases                 The Interim Order does not provide for any releases.                                 N/A
             Local Rule 4001–2(a)(ii)




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                                             Basis for Relief Requested

         A.     The Debtors’ Use of Cash Collateral Is Necessary

                22.     A debtor’s use of property of the estate, including cash collateral, is governed by

         section 363 of the Bankruptcy Code. Pursuant to section 363(c)(2) of the Bankruptcy Code, a

         debtor may use cash collateral if: “(A) each entity that has an interest in such cash collateral

         consents; or (B) the court, after notice and a hearing, authorizes such use, sale, or lease in

         accordance with the provisions of [section 363].” 11 U.S.C. § 363(c)(2).

                23.     It is well-established that a bankruptcy court should, whenever possible, resolve

         issues in favor of allowing a debtor to continue its business as a going concern. Courts have

         recognized that “[a] debtor, attempting to reorganize a business under Chapter 11, clearly has a

         compelling need to use ‘cash collateral’ in its effort to rebuild. Without the availability of cash to

         meet daily operating expenses . . . the congressional policy favoring rehabilitation over economic

         failure would be frustrated.” Chrysler Credit Corp. v. Ruggiere (In re George Ruggiere Chrysler-

         Plymouth, Inc.), 727 F.2d 1017, 1019 (11th Cir. 1984); see also N.L.R.B. v. Bildisco and Bildisco,

         465 U.S. 513, 528 (1984) (“The fundamental purpose of reorganization is to prevent a debtor from

         going into liquidation, with an attendant loss of jobs and possible misuse of economic resources.”).

                24.     Accordingly, courts regularly authorize the use of cash collateral to enhance or

         preserve the debtor’s going concern value. See, e.g., In re 495 Cent. Park Ave. Corp., 136 B.R.

         626, 631 (Bankr. S.D.N.Y. 1992) (“[T]here is no question that the property would be improved by

         the proposed renovations and that an increase in value will result. In effect, a substitution occurs

         in that the money spent for improvements will be transferred into value. This value will serve as

         adequate protection for [the creditor’s] secured claim.”).

                25.     It is essential to the Debtors’ reorganization prospects and the preservation of going

         concern value that they have sufficient funds to operate in the ordinary course, and at a level that
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         is on par or as close as possible to prepetition performance. Absent the use of Cash Collateral, the

         Debtors will not have sufficient working capital to: (a) make payments to employees, vendors, or

         suppliers, (b) satisfy operating costs, and (c) fund the administrative costs of these Chapter 11

         Cases. The ability to satisfy these expenses when due is essential to avoid immediate and

         irreparable harm to the Debtors’ estates. In the normal course of business, the Debtors use cash

         on hand and cash flow from operations and other sources to fund working capital and capital

         expenditures, and operate and maintain their business and properties. Absent immediate access,

         the Debtors will not have adequate unencumbered cash on hand to pay these critical expenses.

         B.     The Proposed Adequate Protection is Reasonable and Appropriate

                26.     Section 363(e) of the Bankruptcy Code further provides that “on request of an entity

         that has an interest in property . . . to be used, sold or leased, by the trustee, the court . . . shall

         prohibit or condition such use, sale or lease as is necessary to provide adequate protection of such

         interest.” 11 U.S.C. § 363(e). Further, section 362(d)(1) of the Bankruptcy Code provides for

         adequate protection of interests in property due to the imposition of the automatic stay. See 11

         U.S.C. § 362(d)(1); see also In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996).

                27.     The Bankruptcy Code does not expressly define “adequate protection.” Section

         361 of the Bankruptcy Code, however, provides a non-exhaustive list of examples of adequate

         protection, including replacement liens and administrative priority claims. See 11 U.S.C. § 361.

         Generally, courts decide what constitutes adequate protection on a case-by-case basis. See, e.g.,

         Resolution Trust Corp. v. Swedeland Dev. Grp., Inc. (In re Swedeland Dev. Grp., Inc.), 16 F.3d

         552, 564 (3d Cir. 1994) (“[A] determination of whether there is adequate protection is made on

         a case by case basis.”); In re N.J. Affordable Homes Corp., No. 05-60442, 2006 WL 2128624,

         at *14 (Bankr. D.N.J. June 29, 2006) (“The term ‘adequate protection’ is intended to be a flexible


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         concept.”); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992 WL 79323, at *2 (Bankr.

         D. Del. Feb. 18, 1992) (emphasizing that “the varying analyses and results contained in the . . .

         slew of cases demonstrate that what interest is entitled to adequate protection and what

         constitutes adequate protection must be decided on a case-by-case basis”); see also In re Dynaco

         Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993) (explaining that adequate protection can take

         many forms and “must be determined based upon equitable considerations arising from the

         particular facts of each proceeding”) (internal citation omitted).

                28.     In Swedeland, the Third Circuit pointedly noted that the purpose of adequate

         protection “is to insure that the creditor receives the value for which he bargained prebankruptcy.”

         In re Swedeland Dev. Grp., Inc., 16 F.3d at 564 (quoting In re O’Connor, 808 F.2d 1393, 1396

         (10th Cir. 1987)); see also Shaw Indus., Inc. v. First Nat’l Bank of Pa. (In re Shaw Indus., Inc.),

         300 B.R. 861, 865 (Bankr. W.D. Pa. 2003) (“The purpose of providing ‘adequate protection’ is to

         insure that a secured creditor receives in value essentially what he bargained for.”); In re Beker

         Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (noting that the application of adequate

         protection “is left to the vagaries of each case, but its focus is protection of the secured creditor

         from diminution in the value of its collateral during the reorganization process”) (citation omitted),

         rev’d on other grounds, 89 B.R. 336 (S.D.N.Y. 1988). The Third Circuit has held that adequacy,

         “depends directly on how effectively it compensates the secured creditor for loss of value” caused

         by the priming lien granted to the new lender. In re Swedeland Dev. Grp., Inc., 16 F.3d at 564

         (quoting In re Am. Mariner Inds., Inc., 734 F.2d 426, 432 (9th Cir. 1984)).

                29.     The Debtors propose to grant the following adequate protection to the Prepetition

         Secured Parties, solely to the extent of any Diminution in Value resulting from use of the




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         Prepetition Collateral after the Petition Date, and the imposition of the automatic stay pursuant to

         section 362 of the Bankruptcy Code (the “Adequate Protection Obligations”):

                      •    replacement liens and superpriority administrative claims for any diminution in
                           value of the Prepetition Secured Parties’ Prepetition Collateral;
                      •    monthly cash interest payments on the Revolving Loans and Term Loan A Loans
                           at the applicable non-default contract rate; and
                      •    certain reporting obligations.

                30.        The Debtors submit that the proposed adequate protection will sufficiently protect

         the Prepetition Secured Parties from any Diminution in Value of the Prepetition Collateral during

         the pendency of these proceedings. Notwithstanding anything in the Interim Order or the Final

         Order to the contrary, the Debtors reserve the right to argue that, to the extent that any cash

         payment made under the Interim Order or the Final Order, as applicable, as adequate protection to

         the Prepetition Secured Parties is not allowed under section 506(b) of the Bankruptcy Code, such

         payment should be recharacterized and applied as payment of principal amounts owed under the

         Credit Agreement and shall permanently reduce the Prepetition Loan Obligations accordingly.

                31.        Without access to Cash Collateral, the Debtors will be unable to continue operating.

         The Debtors believe the Adequate Protection Obligations are necessary and sufficient for the

         Debtors to continue to use Cash Collateral. Accordingly, the Debtors submit that the adequate

         protection is: (a) fair and reasonable, (b) necessary to satisfy the requirements of sections 363(c)(2)

         and 363(e) of the Bankruptcy Code, and (c) in the best interests of the Debtors and their estates.

         C.     The Debtors Should be Authorized to Use the Reserve Account Cash

                32.        The Debtors’ use of the Reserve Account Cash, which is not encumbered by liens

         or security interests, is permitted by sections 363(b)(1) and 105(a) of the Bankruptcy Code.

         Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that “[t]he trustee, after notice

         and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

         estate.” 11 U.S.C. § 363(b)(1). Section 105(a) of the Bankruptcy Code further provides that the
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         Court may “issue any order . . . that is necessary or appropriate to carry out the provisions of [the

         Bankruptcy Code].” 11 U.S.C. § 105(a). Where there is a valid business justification for using

         property outside the ordinary course of business, the law presumes that, “‘in making a business

         decision the directors of a corporation acted on an informed basis, in good faith [,] and in the honest

         belief that the action taken was in the best interests of the company.’” In re Integrated Res., Inc.,

         147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith v. Van Gorkom, 488 A.2d 858, 872 (Del.

         1985)).

                   33.    The Debtors submit that use of the Reserve Account Cash reflects a reasonable

         exercise of their business judgment. Courts generally will accord significant deference to a

         debtor’s business judgment to use or sell assets outside the ordinary course of business. See, e.g.,

         In re W.A. Mallory Co., Inc., 214 B.R. 834, 836–37 (Bankr. E.D. Va. 1997) (“[G]reat deference is

         given to a business in determining its own best interests.”); see also In re Global Crossing, Ltd.,

         295 B.R. 726, 744 n.58 (Bankr. S.D.N.Y. 2003) (“[T]he Court does not believe that it is appropriate

         for a bankruptcy court to substitute its own business judgment for that of the [d]ebtors and their

         advisors, so long as they have satisfied the requirements articulated in the caselaw.”). Absent use

         of the Reserve Account Cash, the Debtors will not be able to fund these Chapter 11 Cases without

         costly debtor-in-possession financing, which the Debtors have no certainty of obtaining.

         Additionally, the inability to utilize the Reserve Account Cash to fund these Chapter 11 Cases will

         impede the Debtors’ ability to operate in chapter 11 and successfully restructure.

         D.        The Scope of the Proposed Carve-Out Is Reasonable and Appropriate

                   34.    The Adequate Protection Obligations are subject to the Carve-Out. Without it, the

         Debtors and other parties in interest may be deprived of certain rights and powers because the

         services for which such professionals may be paid in these Chapter 11 Cases would be restricted.


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         See, e.g., In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (observing that

         courts insist on carve-outs for professionals representing parties in interest because “[a]bsent such

         protection, the collective rights and expectations of all parties-in-interest are sorely prejudiced”).

         The Carve-Out does not directly or indirectly deprive the Debtors’ estates or other parties in

         interest of possible rights and powers. Additionally, the Carve-Out protects against administrative

         insolvency during the course of these Chapter 11 Cases by ensuring that assets remain for payment

         of the Clerk of the Court, U.S. Trustee fees, and professional fees of the Debtors and a Committee.

         E.     Interim Relief Should Be Granted

                35.     Bankruptcy Rule 4001(b) provides that a final hearing on a motion to use cash

         collateral pursuant to section 363 of the Bankruptcy Code may not be commenced earlier than 14

         days after the service of such motion. Upon request, however, the court is authorized to conduct

         an interim expedited hearing on the motion at which it may authorize a debtor to use cash

         collateral to the extent necessary to avoid immediate and irreparable harm to a debtor’s estate

         pending a final hearing. See Fed. R. Bankr. P. 4001(b)(2). Section 363(c)(3) of the Bankruptcy

         Code authorizes the court to conduct a preliminary hearing and to authorize the use of cash

         collateral “if there is a reasonable likelihood that the [debtor] will prevail at the final hearing

         under [section 363(e) of the Bankruptcy Code].” 11 U.S.C. § 363(c)(3).

                36.     Pending the Final Hearing, the Debtors require immediate access to Cash Collateral

         and the Reserve Account Cash to satisfy the day-to-day needs of the Debtors’ business operations.

         Access to liquidity will address any concerns regarding the Debtors’ financial health and ability to

         continue operations in light of these Chapter 11 Cases. The Debtors have an immediate need for

         liquidity to, among other things, maintain business relationships with their vendors and suppliers,

         pay payroll and certain benefits, and satisfy other essential working capital and operational needs,


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         all of which are required to preserve and maintain the Debtors’ going concern value for the benefit

         of all parties in interest. In addition, the Budget establishes that the Debtors’ use of Cash Collateral

         and the Reserve Account Cash will not prejudice the Prepetition Secured Parties.

                 37.     Accordingly, pursuant to section 363(c)(3) of the Bankruptcy Code and Bankruptcy

         Rule 4001(b), the Debtors request an expedited hearing to consider the Motion and entry of the

         Interim Order authorizing the Debtors’ use of Cash Collateral and the Reserve Account Cash.

         F.      Automatic Stay Should Be Modified on a Limited Basis

                 38.     The relief requested herein contemplates a modification of the automatic stay

         to permit the Debtors to grant certain replacement liens to the Prepetition Secured Parties

         and perform such acts as may be requested to assure perfection and priority of such liens.

         Stay modifications of this kind are ordinary and standard features for the use of cash

         collateral, and in the Debtors’ business judgment, are reasonable and fair under the

         circumstances.

                                  Bankruptcy Rule 4001(a)(3) Should Be Waived

                 39.     The Debtors request a waiver of the stay of the effectiveness of the order approving

         this Motion under Bankruptcy Rule 4001(a)(3). Bankruptcy Rule 4001(a)(3) provides, “[a]n order

         granting a motion for relief from an automatic stay made in accordance with Rule 4001(a)(1) is

         stayed until the expiration of 14 days after entry of the order, unless the court orders otherwise.”

         Fed. R. Bankr. P. 4001(a)(3). As explained above and in the First Day Declaration, the use of

         Cash Collateral and the Reserve Account Cash is essential to prevent irreparable damage to the

         Debtors’ operations. Accordingly, ample cause exists to justify the waiver of the fourteen-day

         stay imposed by Bankruptcy Rule 4001(a)(3), to the extent such stay applies.




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                           The Requirements of Bankruptcy Rule 6003 Are Satisfied

                40.     Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

         the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable harm.”

         Fed. R. Bankr. P. 6003. For the reasons discussed above and in the First Day Declaration,

         authorizing the Debtors to use Cash Collateral and the Reserve Account Cash and granting the

         other relief requested herein is critical to the Debtors’ ability to continue operating with the least

         amount of disruption as possible following the Petition Date. Failure to receive such authorization

         and other relief during the first 21 days of these Chapter 11 Cases would severely disrupt the

         Debtors’ operations at this critical juncture and imperil the Debtors’ restructuring. The relief

         requested is necessary for the Debtors to operate their businesses in the ordinary course, preserve

         the ongoing value of the Debtors’ operations and maximize the value of their estates for the benefit

         of all stakeholders. Accordingly, the Debtors submit that they have satisfied the “immediate and

         irreparable harm” standard of Bankruptcy Rule 6003 to support the relief requested herein.

                                                Reservation of Rights

                41.     Nothing contained in this Motion or any actions taken pursuant to any order

         granting the relief requested by this Motion is intended or shall be construed as: (a) an admission

         as to the validity of any claim against a Debtor entity; (b) a waiver of the Debtors’ rights to dispute

         any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

         admission that any particular claim is of a type specified or defined in this Motion or any order

         granting the relief requested by this Motion; (e) a request or authorization to assume any

         agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

         limitation of the Debtors’ rights under the Bankruptcy Code or any other applicable law; or (g) a

         concession by the Debtors that any liens (contractual, common law, statutory, or otherwise)


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         satisfied pursuant to this Motion are valid, and the Debtors expressly reserve their rights to contest

         the extent, validity, or perfection or seek avoidance of any or all such liens.

                                 Waiver of Bankruptcy Rule 6004(a) and 6004(h)

                42.      As provided herein, and to implement the foregoing successfully, the Debtors

         request that the Interim Order and the Final Order include a finding that notice of the relief

         requested herein satisfies Bankruptcy Rule 6004(a) and that the Debtors have established cause to

         exclude such relief from the 14-day stay period under Bankruptcy Rule 6004(h).

                                                         Notice

                43.      Notice of this Motion will be provided to: (a) the U.S. Trustee, (b) the holders of

         the thirty (30) largest unsecured claims against the Debtors on a consolidated basis, (c) the Office

         of the United States Attorney General for the District of Delaware, (d) the Internal Revenue

         Service, (e) the Securities and Exchange Commission, (f) financial institutions at which the

         Debtors maintain deposit accounts, (g) counsel to ACON Dairy Investors, L.L.C., (h) counsel to

         New Laguna, LLC, (i) counsel to the Agent, RCF Facility Lenders, and Term Loan A Facility

         Lenders, (j) counsel to the Term Loan B Facility Lenders, (k) all other parties asserting a lien on

         or a security interest in the assets of the Debtors to the extent reasonably known to the Debtors,

         and (l) any other party entitled to notice pursuant to Local Rule 9013-1(m). The Debtors submit

         that, in light of the nature of the relief requested, no other or further notice need be given.

                                                  No Prior Request

                44.      No prior request for the relief sought in this Motion has been made to this or any

         other court.

                                       [Remainder of page intentionally left blank]




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                WHEREFORE, the Debtors respectfully request that this Court enter the Interim Order

         and Final Order granting the relief requested herein and provide such other relief as this Court

         deems appropriate under the circumstances.

         Dated: January 6, 2020
                Wilmington, Delaware

                                                      Respectfully submitted,


                                                      /s/ M. Blake Cleary
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                                                      -and-

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                                                      Proposed Co-Counsel to the Debtors and Debtors in
                                                      Possession




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                                    Exhibit A

                             Proposed Interim Order




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE



         In re:                                                            Chapter 11

         BORDEN DAIRY COMPANY, et al.,                                     Case No. 20-10010 (CSS)

                                            Debtors.1                      (Jointly Administered)

                                                                           Ref. Docket No. __



               INTERIM ORDER (A) AUTHORIZING USE OF CASH COLLATERAL AND
             GRANTING ADEQUATE PROTECTION, (B) AUTHORIZING USE OF RESERVE
             ACCOUNT CASH, (C) SCHEDULING A FINAL HEARING, AND (D) GRANTING
                                    RELATED RELIEF

                  Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors and debtors-

         in-possession (collectively, the “Debtors”) for entry of an interim order (this “Interim Order”)

         and a Final Order (as defined herein), pursuant to sections 105, 361, 362, 363, 506(a), 507(b), 552

         and 553 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002,

         4001, 6003, 6004, 7062 and 9014 of the Federal Rules of Bankruptcy Procedure (the

         “Bankruptcy Rules”), and Rules 2002-1(b), 4001-2 and 9013-1(m) of the Local Rules of




         1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Borden Dairy Company (1509); Borden Dairy Holdings, LLC (8504); National Dairy, LLC (9109);
             Borden Dairy Company of Alabama, LLC (5598); Borden Dairy Company of Cincinnati, LLC (1334); Borden
             Transport Company of Cincinnati, LLC (3462); Borden Dairy Company of Florida, LLC (5168); Borden Dairy
             Company of Kentucky, LLC (7392); Borden Dairy Company of Louisiana, LLC (4109); Borden Dairy Company
             of Madisonville, LLC (7310); Borden Dairy Company of Ohio, LLC (2720); Borden Transport Company of Ohio,
             LLC (7837); Borden Dairy Company of South Carolina, LLC (0963); Borden Dairy Company of Texas, LLC
             (5060); Claims Adjusting Services, LLC (9109); Georgia Soft Serve Delights, LLC (9109); NDH Transport, LLC
             (7480); and RGC, LLC (0314). The location of the Debtors’ service address is: 8750 North Central Expressway,
             Suite 400, Dallas, TX 75231.
         2
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
             Motion.
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         Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

         Delaware (the “Local Rules”), seeking, among other things:

                (a)     authorization for the Debtors to use Cash Collateral (as defined herein), and any

         proceeds thereof;

                (b)     authorization for the Debtors’ to use the proceeds of the Reserve Account (as

         defined herein) (the “Reserve Account Cash”);

                (c)     authorization to grant, as of the Petition Date (as defined herein), the Adequate

         Protection Superpriority Claims and Adequate Protection Liens (each as defined herein), to the

         extent of and as compensation for any Diminution in Value (as defined herein), and to make the

         Adequate Protection Payments (as defined herein);

                (d)     modification by the Court of the automatic stay imposed by section 362 of the

         Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of

         this Interim Order and the Final Order;

                (d)       the scheduling of a final hearing (the “Final Hearing”) to consider entry of the

         Final Order granting the relief requested in the Motion on a final basis and approving the form of

         notice with respect to the Final Hearing and the transactions contemplated by the Motion; and

                (e)       waiver of any applicable stay (including under Bankruptcy Rule 6004) and

         providing for the immediate effectiveness of this Interim Order.

                and due and appropriate notice of the Motion and the interim hearing held before the Court

         on January [__], 2020 (the “Interim Hearing”) to consider entry of this Interim Order having been

         provided by the Debtors; and it appearing that no other or further notice need be provided; and the

         Court having reviewed the Motion; and upon the record made by the Debtors in the Motion, in the

         Declaration of Jason Monaco in Support of Chapter 11 Petitions and First Day Motions (the


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         “First Day Declaration”), and at the Interim Hearing; and the relief requested in the Motion being

         reasonable, appropriate and in the best interests of the Debtors, their creditors, their estates and all

         other parties in interest in these Chapter 11 Cases (as defined herein); and the Court having

         determined that the relief requested in the Motion is necessary to avoid immediate and irreparable

         harm to the Debtors and their estates; and the Court having determined that the legal and factual

         bases set forth in the Motion establish just cause for the relief granted herein; and after due

         deliberation and sufficient cause appearing therefor;

             THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND
         CONCLUSIONS OF LAW:3

                 A.      Disposition. The relief requested in the Motion is hereby granted on an interim

         basis, on the terms set forth below. Any objections to the Motion that have not been withdrawn,

         waived or settled, and all reservations of rights included therein, are hereby denied and overruled

         on the merits. This Interim Order shall become effective immediately upon its entry.

                 B.      Petition Date. On January 5, 2020 (the “Petition Date”), each of the Debtors filed

         a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”)

         with this Court.

                 C.      Debtors in Possession. The Debtors continue to operate their businesses and

         manage their properties as debtors and debtors in possession pursuant to sections 1107(a) and 1108

         of the Bankruptcy Code. No party has requested the appointment of a trustee or examiner in these

         Chapter 11 Cases, and no committees have been appointed or designated at this time.

                 D.      Jurisdiction and Venue. This Court has jurisdiction over this matter pursuant to 28

         U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States


         3
             In accordance with Bankruptcy Rule 7052, any proposed finding of fact more properly classified as a proposed
             legal conclusion shall be deemed as such, and any proposed conclusion of law more properly classified as a
             proposed factual finding shall also be deemed as such.
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         District Court for the District of Delaware, dated February 29, 2012. Consideration of the Motion

         constitutes a core proceeding under 28 U.S.C. § 157(b)(2). The Court may enter a final order

         consistent with Article III of the United States Constitution. Venue is proper pursuant to 28 U.S.C.

         §§ 1408 and 1409. The predicates for the relief sought are sections 105, 361, 362, 363, 364 and

         507 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001 and 9014, and Local Rule 4001-2.

                E.      Committee Formation. As of the date hereof, no official committee of unsecured

         creditors (with any other statutory committee, a “Committee”) has been appointed in the Cases.

                F.      Notice. On the Petition Date, the Debtors filed the Motion with the Court pursuant

         to Bankruptcy Rules 2002, 4001 and 9014, and provided notice of the Motion and the Interim

         Hearing in accordance with the provisions of Local Rule 9013-1(m) to: (a) the Office of the United

         States Trustee for the District of Delaware, (b) the holders of the thirty (30) largest unsecured

         claims against the Debtors on a consolidated basis, (c) the Office of the United States Attorney

         General for the District of Delaware, (d) the Internal Revenue Service, (e) the Securities and

         Exchange Commission, (f) financial institutions at which the Debtors maintain deposit accounts,

         (g) counsel to ACON Dairy Investors, L.L.C., (h) counsel to New Laguna, LLC, (i) counsel to the

         Agent, RCF Facility Lenders, and Term Loan A Facility Lenders, (j) counsel to the Term Loan B

         Facility Lenders, (k) all other parties asserting a lien on or a security interest in the assets of the

         Debtors to the extent reasonably known to the Debtors, and (l) any other party entitled to notice

         pursuant to Local Rule 9013-1(m). Given the nature of the relief sought in the Motion, the Court

         concludes that the foregoing notice constitutes due, sufficient and appropriate notice under the

         circumstances and complies with section 102(1) of the Bankruptcy Code, Bankruptcy Rules 2002

         and 4001(b) and (d), and the Local Rules.

                G.      Prepetition Secured Indebtedness.


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                     (i) Prepetition Credit Facility. On July 6, 2017, Borden, as borrower, the other Loan

         Parties (as defined in the Credit Agreement (as defined herein)) party thereto (together with

         Borden, the “Loan Parties”), each of the lenders from time to time party thereto (the “Lenders”),

         the L/C Issuer (as defined in the Credit Agreement), and PNC Bank, National Association

         (“PNC”), as administrative agent and collateral agent (in such capacity, the “Collateral Agent,”

         and in such capacities, collectively, the “Agent,” and together with the Lenders and the L/C Issuer,

         the “Prepetition Secured Parties”), entered into that certain Financing Agreement (as amended,

         modified, restated, amended and restated, and/or supplemented from time to time, the “Credit

         Agreement”), which provided the Debtors with a $275 million credit facility (the “Credit

         Facility”). The Credit Facility consists of: (a) a $70 million revolving credit facility (the “RCF

         Facility,” and such loans thereunder, the “Revolving Loans”), which includes a $25 million

         subfacility for the issuance of letters of credit (“Letters of Credit”), (b) a $30 million term loan

         A facility (the “Term Loan A Facility,” and such loans thereunder, the “Term Loan A Loans”),

         and (c) a $175 million term loan B facility (the “Term Loan B Facility”).

                H.       Necessity of Relief Requested. Good cause has been shown for the entry of this

         Interim Order. The Debtors have an immediate need to use Cash Collateral and Reserve Account

         Cash to, among other things, fund the orderly continuation of their businesses, maintain the

         confidence of their customers and vendors, pay their operating expenses, and preserve their going-

         concern value, consistent with the Budget. In the absence of the availability of such liquidity in

         accordance with the terms hereof, the continued operation of the Debtors’ businesses would not be

         possible, and serious and irreparable harm to the Debtors, their estates and their creditors would

         occur. The terms for the Debtors’ use of Cash Collateral and the Reserve Account Cash pursuant

         to this Interim Order are fair and reasonable, reflect the Debtors’ exercise of prudent business


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         judgment consistent with their fiduciary duties, and constitute reasonably equivalent value and fair

         consideration. The Debtors have requested entry of this Interim Order pursuant to Bankruptcy Rule

         4001(b)(2) and (d). Absent granting the relief sought by this Interim Order, the Debtors’ estates

         would be immediately and irreparably harmed. The use of Cash Collateral in accordance with this

         Interim Order is therefore in the best interest of the Debtors and their estates, their creditors and

         other parties in interest.

                    I.         Use of Cash Collateral. All Cash Collateral, all proceeds of the Prepetition

         Collateral, and the Reserve Account Cash shall only be used for: (i) working capital; (ii) other

         general corporate purposes of the Debtors; (iii) the satisfaction of the costs and expenses of

         administering the Chapter 11 Cases, including, without limitation, payment of any prepetition

         obligations that are necessary to preserve the value of the Debtors’ estates to the extent approved

         by the Court; and (iv) Adequate Protection Payments, and for no other purpose, and shall only be

         used and/or applied in accordance with the terms and conditions of this Interim Order, including,

         without limitation, the Budget (subject to any Permitted Variance (as defined herein)).

                         J.     Adequate Protection for Prepetition Secured Parties. The Collateral Agent and

             other Prepetition Secured Parties are entitled to adequate protection as and to the extent set forth

             herein pursuant to sections 361, 362 and 363 of the Bankruptcy Code. Based on the Motion, the

             First Day Declaration, and the evidence presented at the Interim Hearing, the proposed adequate

             protection and the use of the Prepetition Collateral (including Cash Collateral) are fair and

             reasonable and reflect a prudent exercise of the Debtors’ business judgment.

                         K.     Need for Immediate Entry of this Interim Order. The Debtors have requested

             immediate entry of this Interim Order pursuant to Bankruptcy Rule 4001(b)(2). The permission

             granted herein to use Cash Collateral (and provide adequate protection therefor) and Reserve


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             Account Cash is necessary, essential, and appropriate to avoid immediate and irreparable harm

             to the Debtors. The Court concludes that entry of this Interim Order is in the best interests of

             the Debtors’ estates and creditors as its implementation will, among other things, allow the

             Debtors to preserve and maintain the value of their assets and businesses and enhance the

             Debtors’ prospects for a successful reorganization.

                   Based upon the foregoing findings and conclusions, and upon the record made before the

         Court at the Interim Hearing, and good and sufficient cause appearing therefor;

                   IT IS HEREBY ADJUDGED AND ORDERED that:

                   1.         Motion Granted. The Motion is granted on an interim basis in accordance with

         the terms and conditions set forth in this Interim Order. Any objections to the Motion with respect

         to entry of this Interim Order to the extent not withdrawn, waived or otherwise resolved, and all

         reservations of rights included therein, are hereby denied and overruled.

                   2.         Authorization to Use Cash Collateral. The Debtors are authorized to use Cash

         Collateral as set forth in this Interim Order commencing from the Petition Date through and

         including (but not beyond) any Termination Date (as defined herein), subject to the terms and

         conditions of this Interim Order and in accordance with the 13-week cash flow forecast of cash

         receipts and disbursements of the Debtors on a consolidated basis for the period commencing on

         the Petition Date, attached as Exhibit 1 to this Interim Order (the “Initial Budget,” and as such

         budget may be updated and/or modified from time to time by the Debtors as provided in Paragraph

         5 hereto, the “Budget”).

                   3.         Authorization to Use Reserve Account Cash. The Debtors are authorized to use

         the Reserve Account Cash, subject to the terms and conditions of this Interim Order and in

         accordance with the Initial Budget or Budget, as applicable.


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                4.            Adequate Protection for Prepetition Secured Parties. The Prepetition Secured

         Parties are entitled, pursuant to sections 361, 362, 363(c)(2) and 363(e) of the Bankruptcy Code,

         to adequate protection of their interests in the Cash Collateral, solely to the extent of the

         postpetition diminution in value of such Prepetition Secured Party’s interest in the Cash Collateral

         resulting from, among other things, the use, sale or lease by the Debtors of Cash Collateral and the

         imposition or enforcement of the automatic stay pursuant to section 362(a) of the Bankruptcy Code

         (collectively, “Diminution in Value”). The Collateral Agent, for the benefit of itself and the other

         Prepetition Secured Parties, shall receive the following (collectively, the “Adequate Protection

         Obligations”):

                        (a)       Replacement Liens. The Collateral Agent, for the benefit of itself and the

         other Prepetition Secured Parties, is hereby granted, pursuant to sections 361 and 363(e) of the

         Bankruptcy Code, replacement security interests in and liens upon all of the Debtors’ postpetition

         property (the “Adequate Protection Liens”) which, but for the commencement of the Chapter 11

         Cases, would constitute Prepetition Collateral (the “Replacement Collateral”); provided, that the

         Adequate Protection Liens shall in each case be subject and subordinate only to (i) the Carve-Out

         (as defined herein), (ii) any Prepetition Permitted Liens (as defined herein) that exist on, and are

         legal, valid, binding, enforceable, perfected, and non-avoidable, as of the Petition Date and are

         permitted to be senior to the Prepetition Liens (as applicable) pursuant to applicable Loan

         Documents (as defined in the Credit Agreement) or applicable law, and (iii) any Prepetition

         Permitted Liens in existence immediately prior to the Petition Date that are legal, valid,

         enforceable, binding and non-avoidable, and are perfected after the Petition Date as permitted by

         section 546(b) of the Bankruptcy Code, and which are permitted to be senior to the Prepetition

         Liens pursuant to applicable Loan Documents (as defined in the Credit Agreement), and in each


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         case not including the Prepetition Liens or the Adequate Protection Liens (such liens described in

         clauses (ii) and (iii), collectively, and not including any Prepetition Liens or Adequate Protection

         Liens, the “Senior Third Party Prepetition Permitted Liens”).

                        (b)     Adequate Protection Superpriority Claims.         The Collateral Agent, for

         the benefit of itself and the other Prepetition Secured Parties, is hereby granted, subject only to

         payment of the Carve-Out, an allowed superpriority administrative expense claim (each an

         “Adequate Protection Superpriority Claim” and, collectively, the “Adequate Protection

         Superpriority Claims”) as provided for in section 507(b) of the Bankruptcy Code, payable from

         and having recourse to all prepetition and postpetition property of the Debtors and all proceeds

         thereof, including proceeds of Avoidance Actions or property recovered under such Avoidance

         Actions whether by judgment, settlement, or otherwise. Subject only to the Carve-Out, and

         except as provided below, the Adequate Protection Superpriority Claims shall have priority over

         any and all administrative expenses, adequate protection claims and other claims against the

         Debtors, now existing or hereafter arising, of any kind whatsoever, including without limitation,

         all administrative expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy

         Code, and over any and all administrative expenses or other claims arising under the Bankruptcy

         Code. Other than the Carve-Out, no cost or expense of administration of the Chapter 11 Cases

         shall be senior to, or pari passu with, any of the Adequate Protection Superpriority Claims.

                        (c)     Adequate Protection Payments. The respective Prepetition Secured Parties

         shall, as set forth below, receive from the Debtors the following payments (collectively, the

         “Adequate Protection Payments”): the Debtors shall pay in full, in cash and in immediately

         available funds (x) promptly upon the entry of this Interim Order, all accrued and unpaid amounts

         (whether accrued prior to or after the Petition Date) in respect of the following, and (y) thereafter,


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         as and when such payments would have come due under the Credit Agreement had the Chapter 11

         Cases not been commenced: all interest, fees, and other amounts (other than principal), as

         applicable, which shall accrue and be payable at the rates and times provided for in the Credit

         Agreement [on the Revolving Loans and the Term Loan A Loans]; provided, that all interest shall

         be paid at the non-default contract rate; provided further, that any payments set forth in this clause

         (c) may in each case be applied to the applicable Prepetition Secured Parties’ allowed prepetition

         claim as payments of principal in the event that it is determined by final non-appealable order of

         a court of competent jurisdiction that the applicable Prepetition Secured Party is not entitled to

         the Adequate Protection Payments it received as adequate protection for the Diminution in Value

         of its respective interests in the Prepetition Collateral and that such Prepetition Secured Party is

         determined to be undersecured.

                        (d)       Without limiting any other provisions of this Interim Order, any and all

         Adequate Protection Payments that remain unpaid shall be paid in full in cash on the effective date

         of the Debtors’ confirmed chapter 11 plan.

                5.            Budget; Reporting.

                        (a)       No later than the Monday of each calendar week commencing on the first

         Monday following the first full week after the Petition Date, the Debtors shall deliver to the

         Agent and its counsel an updated Budget.

                        (b)       No later than the Monday of each calendar week commencing on the first

         Monday following the first full week, the Debtors shall deliver to the Agent a variance report

         comparing, on a line item basis, actual results to the Budget for the previous individual week on

         a weekly, cumulative, and four-week trailing basis.




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                        (c)       The Debtors shall test the Budget on the Monday following the first four

         (4) full weeks on a four-week trailing basis (each such four week period, the “Budget Period”)

         and every other Monday thereafter. So long as no Termination Event has occurred with respect

         to Cash Collateral, the Debtors shall be authorized (i) to use Cash Collateral, and (ii) to use the

         Reserve Account Cash, in each case in accordance with the Budget and this Interim Order in an

         amount that would not cause either (x) actual disbursements to be more than twenty-five percent

         (25%) in excess of the disbursements included in the Budget for any Budget Period, or (y) actual

         receipts (excluding asset sale proceeds other than ordinary course sales of inventory) to be more

         than twenty-five percent (25%) below the receipts (excluding asset sale proceeds other than

         ordinary course sales of inventory) included in the Budget for any Budget Period (each, a

         “Permitted Variance”).

                6.            Reservation of Rights. Notwithstanding anything herein to the contrary, the

         Debtors reserve the right to argue that, to the extent that any cash payment made hereunder as

         adequate protection to the Prepetition Secured Parties is not allowed under section 506(b) of the

         Bankruptcy Code, such payment should be recharacterized and applied as payment of principal

         owed under the Credit Agreement and shall permanently reduce the Prepetition Loan Obligations

         accordingly, and the Prepetition Secured Parties reserve the right to object to any such argument.

                7.            Adequate Protection Lien Perfection. This Interim Order shall be sufficient

         and conclusive evidence of the validity, perfection and priority of the Adequate Protection Liens

         without the necessity of filing or recording any financing statement, deed of trust, mortgage, or

         other instrument or document which may otherwise be required under the law of any jurisdiction

         or the taking of any other action to validate or perfect the Adequate Protection Liens or to entitle

         the Adequate Protection Liens to the priorities granted herein. Notwithstanding the foregoing,


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         the Collateral Agent (on behalf of itself and the other Prepetition Secured Parties) may, in its

         sole discretion, file such financing statements, mortgages, security agreements, notices of liens

         and other similar documents, and is hereby granted relief from the automatic stay of section 362

         of the Bankruptcy Code in order to do so, and all such financing statements, mortgages, security

         agreements, notices and other agreements or documents shall be deemed to have been filed or

         recorded at the time and on the date of the commencement of the Chapter 11 Cases. The

         Collateral Agent (on behalf of itself and the other Prepetition Secured Parties) may, in its sole

         discretion, file a photocopy of this Interim Order as a financing statement with any recording

         officer designated to file financing statements or with any registry of deeds or similar office in

         any jurisdiction in which any Debtor has real or personal property and, in such event, the subject

         filing or recording officer shall be authorized to file or record such copy of this Interim Order.

                 7.      Carve-Out. As used in this Interim Order, “Carve-Out” means the sum of: (i) all

         fees required to be paid to the Clerk of the Court and to the U.S. Trustee pursuant to section 1930(a)

         of title 28 of the United States Code, plus interest at the statutory rate (without regard to the notice

         set forth in clause (iii) below); (ii) all reasonable fees and expenses up to $50,000 incurred by a

         trustee under section 726(b) of the Bankruptcy Code (without regard to the notice set forth in

         clause (iii) below); (iii) to the extent allowed by the Court at any time, whether by interim order,

         procedural order, final order, or otherwise, all accrued and unpaid fees, costs, and expenses (the

         “Allowed Professional Fees”) incurred by persons or firms retained by the Debtors or any

         Committee pursuant to sections 327, 328, 363 or 1103 of the Bankruptcy Code (collectively, the

         “Professionals”) at any time before or on the date of delivery by the Agent of a Carve-Out Trigger




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         Notice (as defined herein),4 whether allowed by the Court prior to or after delivery of a Carve-Out

         Trigger Notice (the “Pre-Trigger Date Fees”); and (iv) after the date of the delivery of the Carve-

         Out Trigger Notice (the “Trigger Date”), the payment of Professional Fees of Professionals in an

         aggregate amount not to exceed $2,500,000 (the amount set forth in this clause (iv) being the

         “Post-Carve-Out Trigger Notice Cap”). For purposes of the foregoing, “Carve-Out Trigger

         Notice” shall mean a written notice to the Debtors, the U.S. Trustee and counsel for any Committee

         delivered by the Agent, which notice may be delivered upon the occurrence of a Termination Date,

         in accordance with this Interim Order, stating that the Post-Carve-Out Trigger Notice Cap has been

         invoked. Notwithstanding anything to the contrary in this Interim Order, the Credit Agreement or

         otherwise, the liens, security interests, and superpriority claims granted herein (including Adequate

         Protection Liens and Adequate Protection Superpriority Claims), the Prepetition Liens, the Senior

         Third Party Prepetition Permitted Liens, and any other liens, claims or interests of any person,

         shall be subject and subordinate to the Carve-Out.

                 8.      Termination Events. The Debtors’ right to use Cash Collateral shall automatically

         terminate (the date of such termination, the “Termination Date”), without further notice or court

         proceeding, on the earliest to occur of any of the events set forth below (each such event, a

         “Termination Event”), in each case unless waived in writing by the Agent:

                              (a) failure of the Debtors to abide by the material terms, covenants, and

                                  conditions of this Interim Order or the Budget (subject to any Permitted

                                  Variances);




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             For purposes of this Interim Order, whenever notice is requested or required herein, such notice may be via
             electronic mail, unless such other form of notice is specified.
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                              (b) the use of Cash Collateral for any purpose not authorized by this Interim

                                 Order;

                              (c) the dismissal of any of these Chapter 11 Cases, the conversion of any of

                                 these Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code,

                                 or the appointment in any of these Chapter 11 Cases of a trustee or examiner

                                 with expanded powers; or

                              (d) an order of the Court is entered (other than the Final Order) reversing,

                                 staying, vacating, or otherwise modifying in any material respect the terms

                                 of this Interim Order.

                9.      Letters of Credit. The Debtors shall be authorized to maintain and to renew

         existing Letters of Credit issued or deemed issued under the RCF Facility prior to the Petition

         Date on an uninterrupted basis, in accordance with the same practices and procedures as were in

         effect prior to the Petition Date, in each case subject to the terms of the Credit Agreement, and to

         take all actions reasonably appropriate with respect thereto.

                10.     Miscellaneous.

                        (a)      Binding Effect. The provisions of this Interim Order, including all findings

         herein, shall be binding upon all parties in interest in the Chapter 11 Cases, including, without

         limitation, the Prepetition Secured Parties, the Debtors, and their respective successors and assigns

         (including any trustee hereinafter appointed or elected for the estate of any Debtor, an examiner

         appointed pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary appointed as

         a legal representative of the Debtors or with respect to the property of the estate of any of the

         Debtors) and shall inure to the benefit of the Prepetition Secured Parties and the Debtors and

         their respective successors or assigns.


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                         (b)     Modification of Automatic Stay. The Debtors are authorized and directed

         to perform all acts and to make, execute and deliver any and all instruments as may be reasonably

         necessary to implement the terms and conditions of this Interim Order and the transactions

         contemplated hereby. The automatic stay of section 362 of the Bankruptcy Code is hereby

         modified to permit the Debtors and each of the Prepetition Secured Parties to accomplish the

         transactions contemplated by this Interim Order.

                         (c)     Headings. The headings in this Interim Order are for purposes of reference

         only and shall not limit or otherwise affect the meaning of this Interim Order.

                         (d)     Effectiveness. This Interim Order shall constitute findings of fact and

         conclusions of law and shall take effect immediately upon entry hereof, and there shall be no stay

         of execution of effectiveness of this Interim Order. To the extent that any finding of fact shall be

         determined to be a conclusion of law, it shall be so deemed and vice versa.

                         (e)     No Third Party Rights. Except as explicitly provided for herein, this Interim

         Order does not create any rights for the benefit of any third-party, creditor, equity holder or any

         direct, indirect, third-party or incidental beneficiary.

                         (f)     Survival of Interim Order. The provisions of this Interim Order and any

         actions taken pursuant hereto shall survive entry of any order which may be entered (i) confirming

         any chapter 11 plan of reorganization in the Chapter 11 Cases, (ii) converting any of the Chapter 11

         Cases to a case under chapter 7 of the Bankruptcy Code, (iii) to the extent authorized by applicable

         law, dismissing any of the Chapter 11 Cases, (iv) withdrawing of the reference of any of the Chapter

         11 Cases from the Court, or (v) providing for abstention from handling or retaining of jurisdiction

         of any of the Chapter 11 Cases in the Court.




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                         (g)      Controlling Effect of Interim Order. To the extent any provision of this

         Interim Order conflicts or is inconsistent with any provision of the Motion, the provisions of this

         Interim Order shall control to the extent of such conflict.

                         (h)      Order Immediately Effective. Notwithstanding Bankruptcy Rule 6004(h),

         the terms and conditions of this Interim Order are effective immediately and enforceable upon its

         entry.

                         (i)      Debtor Authorization to Effectuate Relief. The Debtors are authorized to

         take all actions necessary to effectuate the relief granted in this Interim Order in accordance with

         the Motion.

                         (j)      Exclusive Jurisdiction.   This Court retains exclusive jurisdiction with

         respect to all matters arising from or related to the implementation, interpretation, and enforcement

         of this Interim Order.

                  11.    Final Hearing. The final hearing (the “Final Hearing”) on the Motion shall be

         held on ____________, 2020, at __:__ _.m., prevailing Eastern Time. The Debtors shall, on or

         before ____________, 2020, mail copies of a notice of the entry of this Interim Order, together

         with a copy of this Interim Order and a copy of the Motion, to the parties having been given notice

         of the Interim Hearing, to any party that has filed prior to such date a request for notices with this

         Court, and to counsel for the Committee, if any, and any other statutory committee of unsecured

         creditors appointed pursuant to section 1102 of the Bankruptcy Code. Any objections or responses

         to entry of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern

         Time, on _____, 2020, and shall be served on: (a) the Debtors, Borden Dairy Company, 8750 North

         Central Expressway, Suite 400, Dallas, Texas 75231, Attn: Jason Monaco; (b) proposed counsel to

         the Debtors, Arnold & Porter Kaye Scholer LLP, 70 West Madison Street, Suite 4200, Chicago,


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         Illinois 60602, Attn: Tyler Nurnberg, Seth Kleinman, and Sarah Gryll; (c) proposed co-counsel to

         the Debtors, Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,

         Wilmington, Delaware 19801, Attn: M. Blake Cleary; (d) counsel to ACON Dairy Investors,

         L.L.C., Hogan Lovells US LLP, 390 Madison Avenue, New York, New York 10017, Attn:

         Christopher Donoho III; (e) counsel to New Laguna, LLC, Dechert LLP, Three Bryant Park, 1095

         Avenue of the Americas, New York, New York 10036, Attn: Brian Greer; (f) counsel to the Agent,

         RCF Facility Lenders, and Term Loan A Facility Lenders, Blank Rome LLP, 1271 Avenue of the

         Americas, New York, New York 10020, Attn: Robert Stein; (g) counsel to the Term Loan B

         Facility Lenders, King & Spalding LLP, 1185 Avenue of the Americas, 34th Floor, New York,

         New York 10036, Attn: Roger Schwartz; (h) counsel to any statutory committee appointed in these

         cases; and (i) the Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35,

         Wilmington, Delaware 19801, Attn: Timothy Fox, Jr..




             Dated: ___________, 2020
             Wilmington, Delaware                            CHRISTOPHER S. SONTCHI
                                                             UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT 1

                                    BUDGET

                                 [TO BE FILED]




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